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                              UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     MIDLAND DIVISION

Lemuel Bannister/Melissa Moore

vs.                                                  Case No. : 7:16-cv-00349-RAJ-DC
Contract Callers, Inc.


                         MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

                   David J. Kaminski                                        ___,... . ^,..
               now --. --. -.. "-"._^                                       applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texasprohacvicetorepresent ContractCallers, Inc._                                 ^^ ^ ^
wouldrespectfully showthe Court as follows:


       1.     Applicant is anattorney anda member ofthe lawfirm (or practices underthename of)
               Carlson & Messer LLP
                                                                        with offices at:

              Mailing address: 5959 West Century Blvd Suite 1214
              City, State, Zip Code: Los Angeles, California, 90045
              Telephone: (310)242-2200                     Facsimile: (310)242-2222

      2.      Since June'1987                               _, Applicant has been and presently is a
              member of and in good standing with the Bar of the State of califoTa


              Applicant's bar license number is


      3.     Applicant hasbeenadmittedto practicebeforethe followingcourts:
             Court:                                       Admission date:

              USDC Central District of California          01/12/1988

              USDC Southern District of California         01/22/2003

              USDC Eastern District of California          05/19/2005
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 4.     Applicantispresentlya memberin goodstandingofthebarsofthecourts listedabove,
        exceptasprovidedbelow (list anycourtnamed in the precedingparagraphbeforewhich
        Applicant is no longer admitted to practice):




            x have         have not previously applied to Appear Pro Hac Vice in this district
       court in Case[s]:

       Number: l:16-cv-00115-SS             onthe 29 dayofMarl:h                         2016

       Number:                              on the _      day of
       Number:                              on the _      day of
6.     Applicanthasneverbeensubjectto grievanceproceedingsorinvoluntaryremoval
       proceedings while a member ofthe bar of any state or federal court, except as
       provided:

       n/a




7.    Applicant hasnot been charged, arrested, or convicted ofa criminal offense or ofienses,
      except as provided below (omit minor traffic offenses):
      n/a




      Applicant has read and is familiar with the Local Rules of the Western District of Texas

      andwill complywith the standards ofpractice set out therein.
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           9.     Applicant will file an Application for Admission to Practice before the United States

                  DistrictCourtfortheWesternDistrictofTexas, ifsorequested; orApplicanthas
                  co-counsel in this case who is admitted to practice before the United States District
                 Court for the Western District of Texas.

                 Co-counsel: LeeH- Staley- WingetSpadafora& Schwarzberg
                 Mailing address: ^Kiverway - Suite 725
                 City, State, Zip Code: Houston, Texas, 77056
                 Telephone: _(713) 343-9200

          Should the Court grant applicant's motion, Applicant shall tender the amount of$100. 00pro hac
vicefeein compliancewithLocalCourtRuleAT-l(f)(2) [checksmadepayableto: Clerk, U. S.District
Court].

          Wherefore,ApplicantpraysthatthisCourtenteranorderpermitting theadmissionof
 DavidJ.Kaminski_                        ^ theWesternDistrictofTexasprohacviceforthiscaseonly.
                                                       Respectfully submitted,
                                                       David J. Kaminski
                                                       [printed name of Applicant]


                                                       [signature o)Q\j)plicant


                                     CERTIFICATE OF SERVICE

      I hereby certify that I have served a true and correct copy ofthis motion upon each attorney of
recordandtheoriginalupontheClerkofCourtonthisthe ^ dayof February_                                2017

                                                       David J. Kaminski

                                                      [printednameofApplicant]

                                                       "^
                                                                                  "/^^
                                                      [signature o
